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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GRAND BOULE OF SIGMA PI                   )
PHI FRATERNITY,                           )
a Pennsylvania Non-Profit                 )
Corporation,                              )
                                          )       Civil Action No. 1:25-cv-02975-
                     Plaintiff,           )       SDG
                                          )
v.                                        )
                                          )
LOREN R. DOUGLASS, an                     )
individual,                               )
                                          )
                   Defendant.             )

                              [PROPOSED] ORDER

       This matter is before the Court on Plaintiff’s Motion to File Complaint Under

Seal (“Motion”). Having reviewed the Motion and the accompanying Memorandum

of Law, the Court finds that Plaintiff has demonstrated good cause to file its

Complaint and the exhibits thereto (collectively, the “Complaint”) under seal.

       Accordingly, IT IS HEREBY ORDERED:

     1. Plaintiff’s Motion to File Unredacted Complaint Under Seal is GRANTED.

     2. The Clerk of Court is DIRECTED to file and maintain the unredacted

       Complaint and all unredacted exhibits attached thereto under seal until further

       Order of this Court.
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3. This Order does not preclude any party from moving to unseal the unredacted

   Complaint, or portions thereof, at a later date upon a proper showing.

SO ORDERED, this ______ day of __________________, 2025.



                                         __________________________
                                                        Judge
